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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
                                                 § CASE NUMBER 1:12-CR-00119-MAC
 v.                                              §
                                                 §
                                                 §
 MICHAEL TAYLOR WORD (8)                         §
                                                 §

         REPORT AND RECOMMENDATION ON PETITION FOR WARRANT
                   FOR OFFENDER UNDER SUPERVISION

        Pending is a “Petition for Warrant or Summons for Offender Under Supervision” filed

 September 27, 2016, alleging that the Defendant, Michael Taylor Word (8), violated his

 conditions of supervised release.    This matter is referred to the undersigned United States

 magistrate judge for review, hearing, and submission of a report with recommended findings of

 fact and conclusions of law. See United States v. Rodriguez, 23 F.3d 919, 920 n.1 (5th Cir.

 1994); see also 18 U.S.C. § 3401(i) (2000); Local Rules for the Assignment of Duties to United

 States Magistrate Judges.

                             I. The Original Conviction and Sentence

        Word was sentenced on March 19, 2014, before The Honorable Marcia A. Crone, of the

 Eastern District of Texas, after pleading guilty to the offense of Conspiracy to Possess With

 Intent to Distribute 50 Grams or More But Less Than 500 Grams of Methamphetamine, a Class

 B felony. This offense carried a statutory maximum imprisonment term of 40 years. The

 guideline imprisonment range, based on a total offense level of 15 and a criminal history

 category of III, was 24 to 30 months’ imprisonment, but the statutory minimum required a

 minimum sentence of 60 months’ imprisonment. Word was subsequently sentenced to 60
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 months’ imprisonment followed by a four year term of supervised release, subject to the standard

 conditions of release, plus special conditions to include financial disclosure, drug aftercare, and a

 $100 special assessment.

                                      II. The Period of Supervision

        On March 7, 2016, Word completed his period of imprisonment and began service of the

 supervision term.

                                          III. The Petition

        United States Probation filed the Petition for Warrant for Offender Under Supervision

 raising three allegations. The petition alleges that Word violated the following conditions of

 release:

        Allegation 1. The Defendant shall refrain from any unlawful use of a controlled
        substance. Defendant shall submit to one drug test within 15 days of release from
        imprisonment or placement on probation and at least two periodic drug tests
        thereafter, as directed by the probation officer.

        Allegation 2. The Defendant shall permit a probation officer to visit at any time
        at home or elsewhere and shall permit confiscation of any contraband observed in
        plain view by the probation officer.

        Allegation 3. The Defendant shall participate in a program of testing and
        treatment for drug abuse, as directed by the probation officer, until such time as
        the defendant is released from the program by the probation officer. The
        Defendant shall pay any cost associated with treatment and testing.

                                          IV. Proceedings

        On September 27, 2016, the undersigned convened a hearing pursuant to Rule 32.1 of the

 Federal Rules of Criminal Procedure to hear evidence and arguments on whether the Defendant

 violated conditions of supervised release, and the appropriate course of action for any such

 violations.


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           At the revocation hearing, counsel for the Government and the Defendant announced an

 agreement as to a recommended disposition regarding the revocation. The Defendant agreed to

 plead “true” to the second allegation that claimed he failed to permit a probation officer to visit

 at any time at home or elsewhere and permit confiscation of any contraband observed in plain

 view by the probation officer.      In return, the parties agreed that he should serve a term of

 imprisonment of eight (8) months’ imprisonment, with two (2) years of supervised release to

 follow.

                                     V. Principles of Analysis

           According to Title 18 U.S.C. § 3583(e)(3), the court may revoke a term of supervised

 release and require the defendant to serve in prison all or part of the term of supervised release

 authorized by statute for the offense that resulted in such term of supervised release without

 credit for time previously served on post-release supervision, if the court, pursuant to the Federal

 Rules of Criminal Procedure applicable to revocation of probation or supervised release, finds by

 a preponderance of the evidence that the defendant violated a condition of supervised release,

 except that a defendant whose term is revoked under this paragraph may not be required to serve

 on any such revocation more than five years in prison if the offense that resulted in the term of

 supervised release is a Class A felony, more than three years if such offense is a Class B felony,

 more than two years in prison if such offense is a Class C or D felony, or more than one year in

 any other case. The original offense of conviction was a Class B felony, therefore, the maximum

 imprisonment sentence is 3 years.




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         According to U.S.S.G. § 7B1.1(a) 1, if the court finds by a preponderance of the evidence

 that the Defendant violated conditions of supervision by failing to permit a probation officer to

 visit at any time at home or elsewhere and permit confiscation of any contraband observed in

 plain view by the probation officer, the Defendant will be guilty of committing a Grade C

 violation. U.S.S.G. § 7B1.3(a)(2) indicates that upon a finding of a Grade C violation, the court

 may (A) revoke probation or supervised release; or (B) extend the term of probation or

 supervised release and/or modify the conditions of supervision.

         U.S.S.G. § 7B1.4(a) provides that in the case of revocation of supervised release based on

 a Grade C violation and a criminal history category of III, the policy statement imprisonment

 range is 5 to 11 months.

         According to U.S.S.G. § 7B1.3(c)(1), where the minimum term of imprisonment

 determined under U.S.S.G. § 7B1.4 is at least one month but not more than six months, the

 minimum term may be satisfied by (A) a sentence of imprisonment; or (B) a sentence of

 imprisonment that includes a term of supervised release with a condition that substitutes

 community confinement or home detention according to the schedule in U.S.S.G. § 5C1.1(e),

 provided that at least one-half of the minimum term is satisfied by imprisonment.

         According to U.S.S.G. § 7B1.3(f) any term of imprisonment imposed upon revocation of

 probation or supervised release shall be ordered to be served consecutively to any sentence of

 imprisonment that the defendant is serving, whether or not the sentence of imprisonment being

 served resulted from the conduct that is the basis of the revocation of probation or supervised

 release.

 1. All of the policy statements in Chapter 7 that govern sentences imposed upon revocation of supervised release
 are non-binding. See U.S.S.G. Ch. 7 Pt. A; United States v. Price, 519 F. App’x 560, 562 (11th Cir. 2013).

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        According to 18 U.S.C. § 3583(h), when a term of supervised release is revoked and the

 defendant is required to serve a term of imprisonment, the court may include a requirement that

 the defendant be placed on a term of supervised release after imprisonment. The length of such a

 term of supervised release shall not exceed the term of supervised release authorized by statute

 for the offense that resulted in the original term of supervised release, less any term of

 imprisonment that was imposed upon revocation of supervised release. The authorized term of

 supervised release for this offense is not more than Life.

        U.S.S.G. § 7B1.3(g)(2) indicates where supervised release is revoked and the term of

 imprisonment imposed is less than the maximum term of imprisonment imposable upon

 revocation, the court may include a requirement that the defendant be placed on a term of

 supervised release upon release from imprisonment. The length of such a term of supervised

 release shall not exceed the term of supervised release authorized by statute for the offense that

 resulted in the original term of supervised release, less any term of imprisonment that was

 imposed upon revocation of supervised release.

        In determining the Defendant’s sentence, the court shall consider:

        1. The nature and circumstance of the offense and the history and characteristics of the
           defendant; see 18 U.S.C. § 3553(a)(1);

        2. The need for the sentence imposed: to afford adequate deterrence to criminal conduct;
           to protect the public from further crimes of the defendant; and to provide the
           Defendant with needed educational or vocational training, medical care, other
           corrective treatment in the most effective manner; see 18 U.S.C. §§ 3553 (a)(2)(B)-
           (D);

        3. Applicable guidelines and policy statements issued by the Sentencing Commission,
           for the appropriate application of the provisions when modifying or revoking
           supervised release pursuant to 28 U.S.C. § 994(a)(3), that are in effect on the date the
           defendant is sentenced; see 18 U.S.C. 3553(a)(4); see also 28 U.S.C. § 924(A)(3);




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        4. Any pertinent policy statement issued by the Sentencing Commission, pursuant to 28
           U.S.C. § 994(a)(2), that is in effect on the date the defendant is sentenced; see 18
           U.S.C. § 3553(a)(5); and

        5. The need to avoid unwarranted sentence disparities among defendants with similar
           records who have been found guilty of similar conduct; see 18 U.S.C. § 3553(a)(6).

        6. The need to provide restitution to any victims of the offense.

 18 U.S.C. §§ 3583(e) and 3553(a).
                                          VI. Application

        The Defendant pled “true” to the petition’s allegation that he violated a standard

 condition of release that he failed to permit a probation officer to visit at any time at home or

 elsewhere and permit confiscation of any contraband observed in plain view by the probation

 officer. Based upon the Defendant’s plea of “true” to this allegation of the Petition for Warrant

 or Summons for Offender Under Supervision and U.S.S.G. § 7B1.1(a), the undersigned finds

 that the Defendant violated a condition of supervised release.

        The undersigned has carefully considered each of the factors listed in 18 U.S.C. §§

 3583(e). The Defendant’s violation is a Grade C violation, and the criminal history category is

 III. The policy statement range in the Guidelines Manual is 5 to 11 months. The Defendant did

 not comply with the conditions of supervision and has demonstrated an unwillingness to adhere

 to conditions of supervision.

        Consequently, incarceration appropriately addresses the Defendant’s violation. The

 sentencing objectives of punishment, deterrence and rehabilitation along with the

 aforementioned statutory sentencing factors will best be served by a prison sentence of eight (8)

 months, with a two year of term of supervised release to follow.




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                                      VII. Recommendations

        The court should find that the Defendant violated the allegation in the petition that he

 violated a standard condition of release by failing to permit a probation officer to visit at any

 time at home or elsewhere and permit confiscation of any contraband observed in plain view by

 the probation officer. The petition should be granted and the Defendant’s supervised release

 should be revoked pursuant to 18 U.S.C. § 3583. The Defendant should be sentenced to a term

 of 8 months’ imprisonment, with a two year term of supervised release to follow. The Defendant

 requested to serve his prison term at the Federal Correctional Institution in El Paso. The

 Defendant’s request should be accommodated, if possible.

                                          VIII. Objections
        Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file

 objections to this report and recommendation. Objections to this report must: (1) be in writing,

 (2) specifically identify those findings or recommendations to which the party objects, and (3) be

 served and filed within fourteen (14) days after being served with a copy of this report, and (4)

 no more than eight (8) pages in length. See 28 U.S.C. § 636(b)(1)(c) (2009); FED. R. CIV. P.

 72(b)(2); Local Rule CV-72(c). A party who objects to this report is entitled to a de novo

 determination by the United States District Judge of those proposed findings and

 recommendations to which a specific objection is timely made. See 28 U.S.C. § 636(b)(1)

 (2009); FED R. CIV. P. 72(b)(3).

        A party’s failure to file specific, written objections to the proposed findings of fact and

 conclusions of law contained in this report, within fourteen (14) days of being served with a copy

 of this report, bars that party from: (1) entitlement to de novo review by the United States District

 Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275,

 276–77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such

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 findings of fact and conclusions of law accepted by the United States District Judge, see

 Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc).


        SIGNED this 28th day of September, 2016.




                                                    _________________________
                                                    Zack Hawthorn
                                                    United States Magistrate Judge




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